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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY                                              -—




 UNITED STATES OF AMERICA                       :      Honorable Douglas Arpert

          v.                                    :      Mug. No. 12-2547 (DA)

 SCOTT MAZZARA

                                                       ORDER FOR CONTINUANCE


        This matter having bccn opened to thc Court by Paul J. Fishman, United States Attorney for

the District of New Jersey (Jonathan W. Romankow, Assistant U.S. Attorney, appearing), and

defendant SCOTT MAZZARA (Michael Baldassare, Esq., appearing), for an order granting a

continuance of the proceedings in the above-captioned matter; and six continuances having

previously been granted; and the defrndant being aware that he has the right to have the matter

presented to a Grand Jury within thirty (30) days of the date ofhis arrest pursuant to Title 18 U.S.C.

§ 3161; and the defendant through his attorney having waived such rights and consented to the
continuance; and for good and sufficient cause shown,

       IT IS THE FINDING OF THIS COURT that this action should be continued for the

following reasons:

               1. Plea negotiations currently are in progress, and both the United States and the

       defendant desire additional time to enter a plea in Court, which would thereby render trial

      of this matter unnecessary.

               2. Defendant has consented to the aforementioned continuance.

               3. The grant of a continuance will likely conserve judicial resources.

               4. Pursuant to Title 18 of the United States Code, Section 316l(h)(7)(A), the ends

      ofjustice served by granting the continuance outweigh the best interests ofthe public and the

      defendants in a speedy trial.
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         WHEREFORE, on this L_ day of__, 2013;

         ORDERED that the proceedings in the abovecaptioned matter are continued from June 1 8,

  2013 through August 16, 2013; and it is further

         ORDERED that the period between from June 18, 2013 through August 16, 2013 shall be

  excludable in computing time under the Speedy Trial Act of 1974,



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                                       HON. DOUGLAS APERT
                                       United States Magistrate Judge




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 JØNTHAN ROMANKOW
 4ssi/tant U.S. Attorney




ELBALDASSAREEsq.
 Counsel for Defendant Scott Mazzara
